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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NORTH DAKOTA

Shawn Miller, individually and on                  )
behalf of all others similarly situated,           )
                                                   )
                   Plaintiff,                      )       ORDER
                                                   )
           v.                                      )
                                                   )
Bell Energy Services, LLC and                      )
Dakota Petroleum Services, LLC,                    )       Case No.: 1:23-cv-00051
                                                   )
                   Defendants.                     )


           On December 30, 2024, the court held a status conference, in which the parties were

present. (Doc. No. 47).

           For the reasons articulated on the record, the final pretrial conference scheduled for January

13, 2025, and trial scheduled for January 27, 2025, shall be canceled pending further order of the

court. The parties are ordered to brief the issue of trial continuance, addressing when trial should

be rescheduled and why. The parties are further ordered to include agreed upon discovery

conditions and highlight issues of disagreement.

           The parties’ briefs shall be due within thirty (30) days of the filing of this order. The parties

shall meet and confer prior to the filing of their respective briefs with an idea of creating a plan for

remaining discovery and opportunity for further motions, dispositive or otherwise. Upon the

receipt of the parties’ briefs, the court shall rule on the issue or order further discussion with the

parties.

IT IS SO ORDERED.

Dated this 30th day of December, 2024.

                                                   /s/ Clare R. Hochhalter
                                                   Clare R. Hochhalter, Magistrate Judge
                                                   United States District Court
